y

BIS 44 (Rev. 11/04) _ - CIVIL COVER SHEET oe APPENDIX H
Che JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as providex
1y local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiatins
he civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) : . . : /

 

 

 

‘L (a) PLAINTIFFS : DEFENDANTS .
Carmen Alba School District of Philadelphia; Paul Vallas, Chief Executive
Officer; Tomas Hanna, Senior Vice President, Human
Resources; Andrew Rosen, Executive Director of Employee
Relations; Darlene Beasley, Principal.
(b) County of Residence of First Listed Plaintiff Philadelphia County of Residence of First Listed Defendant Philadelphia
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(c) Attomey’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Ann C, Lebowitz and Charles J. Grant, Grant & Lebowitz, LLC, 1818 Market Sherry A. Swirsky, Esquire
Street, 33" Floor, Philadelphia, PA 19103 (215) 789-3100 400 N. Broad Street, Philadelphia PA 19136

(Il. BASIS OF JURISDICTION (Place an “X” in Gne Box Only) Ii. CITIZENSHIP OF PRINCIPAL PARTIES lace an “X” in One Box for Plaintiff

: (For Diversity Cases Only) . and One Box for Defendant)

T1 U.S. Goverament X 3 Federal Question PTF DEF PTF . DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State 1. (11 _ Incorporated or Principal Place 4 a
. of Business In This State

32 US.Goveimment 4 Diversity — Citizen of Another State 2 €F 2 Incorporated and Principal Place Os 8

Defendant : (Indicate Citizenship of Parties in Item II) ao of Business In Another State’
Citizen or Subject of a 3 3° Foreign Nation Oe 6
‘Foreign Country :

 

 

[V. NATURE OF SUIT

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7110 Insurance PERSONAL INJURY PERSONAL INJURY .|(1 610 Agriculture 1 422 Appeal 28 USC 158 - | 400 State Reapportionment
7 120 Marine’ (I 316 Airpiane © 362 Personal Injury - C1 620 Other Food & Drug 41 423 Withdrawal (i 410 Antitrust
J 130 Miller Act . 1 315 Airplane Product Med. Malpractice Cl 625 Drug Related Seizure 28 USC 157 { 430 Banks and Banking
J 140 Negotiable Tastrument Liability Ol 365 Personal Injury: - of Property 21 USC 881 C 450 Commerce
J 150 Recovery of Overpayment |] 320 Assault, Libel & Product Liability Ci 630 Liquor Laws 2 PROPERTY RIGHTS ==] 460 Deportation
& Enforcement of Judgment Slander _ € 368 Asbestos Personal | 640 RRB. & Track C1 820 Copyrights C1 470 Racketeer Influenced and
T151 Medicare Act C¥ 330 Federal Employers’ Injury Product C1 650 Airline Regs. CF 830 Patent Corrupt Organizations
J 152 Recovery of Defaulted Liability Liability [J 660 Occupational 7 840 Trademark CT 480 Consumer Credit
Student Loans (1 340 Marine PERSONAL PROPERTY Safety/Health (1 490 Cable/Sat TY
(Excl. Veterans) C1 345 Marine Product CI 370 Other Frand C1 690 Other . C) 810 Selective Service
7 153 Recovery of Overpayment Liability CO) 371 Truth in Lending SBABORS Sees: SOCIAL SECURITY] 850 Securities/Commodities/
of Veteran’s Benefits CY 350 Motor Vehicle (1 380 Other Personal CO) 716 Fair Labor Standards 01 861 HIA (13958) "Exchange
7 160 Stockholders’ Suits (I 355 Motor Vehicle Property Damage Act C1 862 Black Lung (923) {1 875 Customer Challenge
J 190 Other Contract Product Liability C1 385 Property Damage [11 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(p)) 12 USC 3410
J 195 Contract Product Liability | 360 Other Personal Product Liability C1 730 Labor/Mgmt Reporting | (C1) 864 SSID Title XVI CF 890 Other Statutory Actions
J 196-Franchise Injury , & Disclosure Act C1 865 RSI (465(p)) {T 897 Agricultural Acts
: REAL PROPERTY. CIV RIGHTS: =PRISONER:-PETETIONS | TI 740 Railway Labor Act Eee EDERAL FAX SURES: (2 892 Economic Stabilization Act
F210 Land Condemnation 1 441 Voting CI $19 Motions to Vacate = |(C1 790 Other Labor Litigation [OJ 876 Taxes (U.S. Plaintiff CJ 893 Environmental Matters
7 226 Foreclosure 442 Employment Sentence 1 791 Empl. Ret, Inc. or Defendant) (1 894 Energy Allocation Act —
7 230 Rent Lease & Ejectment {1 443 Housing/ Habeas Corpus: Security Act C1 871 IRS—Third Party (I 895 Freedom of Information
1.240 Torts to Land Accommodations C1. 530 General : : 26 USC 7609 Act . ,
7 245 Tort Product Liability Cl 444 Welfare (1 535 Death Penalty [I 900Appeal of Fee Determinatio:
7] 290 All Other Real Property X 445 Amer. w/Disabitities - |] 540 Mandamus & Other . , : Under Equal Access
Employment CF 550 Civil Rights . / to Justice
C1 446 Amer. w/Disabilities - [C7 555 Prison Condition - . (1 950 Constitationdlity of
Other State Statutes
CI 440 Other Civil Rights
V. ORIGIN . lace an “X” in One Box Onl . Appeal to District
1 o oo : mene 4 3 M4... C5 Transferred from 6 oe, (87 Tudge from
x Original Removed from Remanded from Reinstated or - another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
: Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 U.S.C. $12101 et seq., 29 U.S.C. §621 et seq.
VI. CAUSE OF ACTION - —— *
Brief description of cause:
Age and disability discrimination; retaliation . .
VIT. REQUESTED EN o CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: =X Yes =O No
VIIL RELATED CASE(S) See instruct
IF ANY (See instructions): TUDGE DOCKET NUMBER
ATE ; /, : Sy, “Lh OF RECORD
‘OR OFFICE USE ONLY es ‘
RECEIPT # : AMOUNT APPLYING IFP : _ JUDGE MAG. JUDGE .
UNITED STATES DISTRICT COURT APPENDIX F

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar. / .

Address of Plaintiff 450 E. Pleasant Street, Philadelphia, PA 19119
' Address of Defendant: 400 N. Broad Street, Philadelphia, PA 19130

Place of Accident, Incident or Transaction: School District of Philadelphia
: . (Use Reverse Side For Additional Space}

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)}, : Yes Nox.

 

Does this case involve multidistrict litigation possibilities? YesL] NoX
RELATED CASE, IF ANY:

Case Number: Judge Date Terminated:

 

Civil cases are deemed related when yes is answered to any of the following questions:

. 1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Yes CI NoL]
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court? Yes Oi nolL]

_3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yes Cj Nol

 

CIVIL: (Place v in ONE CATEGORY ONLY)

A. Federal Question Cases: , B. Diversity Jurisdiction Cases:

lL Oo Indemnity Contract, Marine Contract, and All Other Contracts 1. C Insurance Contact and Other Contracts
2. O Feta . . 2, 0 Airptane Personal Injury

3. CO Jones Act-Personal Injury 3. O Assault, Defamation

4 O Antitrust 4 O Marine Personal Injury

3. 0 Patent , 3. O Motor Vehicle Personal Injury

6 O Labor-Management Refations , ‘6. CF other Personal Injury (Please specify)
7. X Civil Rights 7. C1 Products Liability

g. O Habeas Corpus 8. O Products Liability — Asbestos

9. LI Securities Act(s} Cases , : 9. C _ All other Diversity Cases
19. O Social Security Review Cases {Please specify)

11, O All other Federal Question Cases

(Please specify)
ARBITRATION CERTIFICATION
(Check appropriate Category)

I___ Ann C. Lebowitz counsel of record do hereby certify:

 

XX Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs;

Cl Relief other than monetary damages is sough -

pate: L300: ?

 
 
 

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Attomey 1.D#

  

Attorney-at-L

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P, 38.

 

“J certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

“DATE: Y/34 OF. Aaay

: ‘Attomey-at-Law Attorney LD.#
Civ. 602 (4/03} -
FGR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar. /

Address of Plaintiff: 450 5, Pleasant Street, Philadelphia, PA 191 19
Address of Defendant: 400 N. Broad Street, Philadelphia PA 19130

_ Place of Accident, Incident or Transaction:__School District of Philadelphia
(Use Reverse Side For Additional Space)

 

~ Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.CivP. Tifa).  -yesLI NoX
Does this case involve multidistrict litigation possibilities? YesL] - Now
RELATED CASE, IF ANY:
Case Number: ~ Judge Date Terminated:

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yes NoL]

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated -

action in this court? . . Yes Oo NoO

“3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered cage pending or within one year previously

terminated action in this court? 7 yesL] wo

 

- CIVIL: (Place W in ONE CATEGORY ONLY)

A. Federal Question Cases: B. Diversity Jurisdiction Cases:

10 Indemnity Contract, Marine Contract, and All Other Contracts Oo Insurance Contract and Other Contracts
2. O Feta 2. O Airplane Personal Injury

3. U1 Jones Act-Personal Injury 3. 0 Assault, Defamation

4. OO antitrust ‘ 4, O Marine Personal injury

3. Cj Patent 3 O Motor Vehicle Personal Injury
60 Labor-Management Relations 6. ©] other Personal Injury (Please specify)

7. X Civil Rights - 7. OF Products Liability

3 O Habeas Corpus 3 O Products Liability — Asbestos

9, OF securities Act(s) Cases : 9 O _All other Diversity Cases

10. & social Security Review Cases : (Please specify)

11. 2) attother Federal Question Cases

(Please specify)
ARBITRATION CERTIF ICATION
(Check appropriate Category)
L, Ann C, Letiowitz : ‘__, counsel of record do hereby certify:

 

x Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case.
exceed the sum of $150,000.00 exclusive of interest and costs;

~ —- )_ Relief other than monetary damages is sough
oe Ynpoe Gout Cac QA 29243

Attorney-at-Law Attomey LD.#

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P, 38. ..

 

I certify that, to my knowledge, the within case is not related to any case now Lid or within one year previously terminated action in this court
except as noted above,

DATE: Sf0, {t} G . _ BADLY?

Gaal Law Selawdh, Attorney 1.D.#
“CIV. 669 (4/03)

 

UNITED STATES DISTRICT COURT . APPENDIX F
IN THE UNITED STATES DISTRICT COURT.
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_ CASE MANAGEMENT TRACK DESIGNATION FORM

CARMEN ALBA CIVIL ACTION -
- Plaintiff, o
a Vv. :

SCHOOL DISTRICT OF PHILADELPHIA; PAUL - NO.

VALLAS, CHIEF EXECUTIVE OFFICER; TOMAS.
HANNA, SENIOR VICE PRESIDENT,HUMAN
RESOURCES; ANDREW ROSEN, EXECUTIVE
DIRECTOR OF EMPLOYEE RELATIONS: AND
DARLENE BEASLEY, PRINCIPAL.

Defendants.

APPENDIX I

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases-at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does ‘not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
“the plaintiff and all other parties, a case management track designation form specifying the track to

which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241 through §2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(£) Standard Management — Cases that do not fall into any one of the other tracks.

 

 

 

April 30, 2007 Ann C. Lebowitz Plaintiff, CarmenAlba
Date - Attorney-at-law Attorney for
(2.45) 789-3100 (215) 789-3113 _acl@grantlebowitz.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

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IN THE UNITED STATES DISTRICT COURT
_ FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

CARMEN ALBA
Plaintiff, : CIVIL ACTION NO.

Vv.
ST . JURY TRIAL DEMAND
SCHOOL DISTRICT OF PHILADELPHIA;
PAUL VALLAS, CHIEF EXECUTIVE OFFICER;
TOMAS HANNA, SENIOR VICE .
PRESIDENT, HUMAN RESOURCES;
ANDREW ROSEN, EXECUTIVE DIRECTOR
OF EMPLOYEE RELATIONS; AND
DARLENE BEASLEY, PRINCIPAL.

Defendants.

 

COMPLAINT
The Parties

1. Plaintiff, Carmen Alba, brings claims of disability discrimination, age discrimination,
retaliation, and civil rights violations against her employer, the School District of Philadelphia, -
and School District executives, managers and supervisors: Paul Vallas, Chief Executive Officer:
Tomas Hanna, Senior Vice President, Human Resources; Andrew Rosen, Executive Director of .
Employee Relations; and Darlene Beasley, Principal. The School District of Philadelphia
employs more than five hundred (500) persons in various professional and non-professional
- positions. The School District receives funds from federal, state and municipal governments. :

2. Ms. Alba is a fifty-four (54 yrs.) old assistant principal. She holds a Bachelor of Arts
Degree in Elementary Education and two advanced degrees: a Master of Arts Degree in Special

Education; and a second Master of Arts Degree in Counseling Psychology. Ms. Alba has taught
~in the School District of Philadelphia since 1973. She is state certified in elementary education,
as a teacher of physically handicapped and learning disabled children, as an elementary and
secondary school counselor, and as a teacher of mentally and emotionally disturbed students.
She also holds a principal certificate and is state certified in school administration.

2. Ms. Alba suffers from physical impairments caused by juvenile onset rheumatoid
arthritis. As a result of her medical condition, Ms. Alba has hand, finger and foot deformities.
Her fingers are visibly deformed; her wrist takes a right angle to her body; she lacks finger and
. manual dexterity; and she cannot lift heavy objects, grasp, or turn a spherical doorknob. Because
of her arthritic condition and foot deformities, she cannot walk long distances-or climb stairs.

3. Ms. Alba’s disabilities have been certified for reasonable accommodation by School
District medical personnel since June 29, 1990.

4, Because of her disabilities, Ms. Alba requires an accessible, elevator-equipped school,
with handicap accessible door hardware. a

5. There are schools within the School District of Philadelphia that satisfy these
reasonable workplace requirements.

6. Although accommodating schools exist in the School District of Philadelphia, and

although she was previously assigned to such an accommodating school, now that Ms. Alba is _

within a year of retirement, the School District persists in its refusal to assign her to a school that
provides the reasonable workplace accommodations she requires.

7. Further, when Ms. Alba complained and attempted to assert her rights to an
accommodating workplace, the School District engaged in a punitive and retaliatory course of

conduct by which Ms. Alba was assigned to perform demeaning, and increasingly more difficult
physical, clerical, maintenance and custodial tasks. These assigned tasks required her to perform
repetitive stair climbing, and to grasp and lift heavy boxes and crates.

8. The heavy lifting, carrying, repetitive stair climbing, custodial and hallway
maintenance tasks required of Ms. Alba were not assigned to other younger and non-disabled

assistant principals in the School District of Philadelphia.

JURISDICTION

9. Plaintiff brings this action under the Americans with Disabilities Act, as amended by
the Civil Rights Act of 1991, 42 U.S.C. §12101 et seq., 42 U.S.C. §2000e-5, 42 U.S.C. §1981a,
the Rehabilitation Act, 29 U.S.C. §794 (non-discrimination: under federal grants and programs),
the Age Discrimination in Employment Act, 29 U.S.C. §621 et seq., 42 U.S.C. $6101 (non-
discrimination based on age in programs and activities receiving Federal financial assistance),
and the Pennsylvania Human Relations Act, 43 Pa. C.S.A. $951 et seq.

10, Jurisdiction is pursuant to 28 U.S.C. §§1331 and 1343, 42 U.S.C. §12117, 42 U. s. C.
§2000e-5(f), 29 U.S.C. §626, and under the supplemental jurisdiction of the District Court for
related claims as provided in 28 U.S.C. §1367(a).

il. Plaintiff cross-filed her Complaint with the Pennsylvania Human Relations
Commission (“PHRC”) and the Equal employment Opportunity Commission on May 18, 2006,
~ When the PHRC failed to complete its investigation within 180 days, Plaintiff requested, by
letter dated January 8, 2007, that a right to sue letter be issued ; in this matter, The right to sue
letter, which was issued by the United States Department of Justice on February 26, 2007, is
attached as Exhibit A.

12. Plaintiff's claims of discrimination under the Age Discrimination in Employment

' Act are filed in accordance with the tequirements of 29 U.S.C. §626(e) where the Equal
Employment Opportunity Commission, by letter dated J anuary 31, 2007 and received February
6, 2007, notified Plaintiff of its termination of administrative proceedings. Letter dated 1/31/07,

attached as Exhibit B.

COUNT I
DISABILITY DISCRIMINATION
Violations of the Americans with Disability Act, 42 U.S.C. §12101. et seq. and the
Pennsylvania Human Relations Act, 43 P.S. §955

13. Paragraphs i through 12 are incorporated herein by reference.

14. Carmen Alba is a qualified individual with a non-job related disability. Ms. Alba
possesses the skill, education, and experience to perform as an assistant principal and
professional educator in the Philadelphia public schools.

15. Carmen Alba has taught in the School District of Philadelphia for thirty-three years.

16. Until the close of the 2003-2004 academic year, Ms. Alba was assigned to and
worked. as an 1 educator at schools that accommodated her reasonable workplace requirements.

17. During the 2003-2004 academic year, Ms. Alba worked as an assistant principal a at
the Edmunds: School. The Edmunds School is ‘equipped for and accommodates Ms. Alba’ S
reasonable workplace requirements. The Edmunds School has an elevator and operable lever
style door hardware.

18. While at the Edmunds School as an assistant principal, Ms. Alba served as an
instructional leader and mentor to classroom teachers and students. She reviewed the curriculum
and lesson plans for every class. When curricular goals were not met, Ms. Alba monitored the

class and coached classroom teachers. In the Spring of 2004, the Edmunds School achieved its
‘Annual Yearly Progress (AYP) goals.

19, In January, 2005, Ms. Alba was transferred from the Edmunds School to the Huey
School. The Huey School did not accommodate Ms. Alba’s Teasonable workplace requirements.
Unlike Edmunds, the Huey School was not 3 equipped with an elevator and did not have lever
syle door hardware.

20. In July, 2005; Ms. Alba was transferred from the Huey School to the Barry School
- for the school year commencing in September, 2005. The Barry School lacked an elevator and
lever style door hardware. Accordingly, the Barry School also- did not accommodate Ms. Alba’ 5
reasonable workplace requirements.

21. Because the Barry School lacked an elevator, Ms. Alba requested an office on the
first floor. Although a first floor office was available, the Barry School Principal, Ms. Darlene
Beasley, instead assigned Ms. Alba to a third floor room that was used as a classroom storage
area. This “office” lacked even 4 telephone.

22, At the Barry School, Ms. Alba was one of two assistant principals. Only Ms. Alba
however, was required to perform maintenance and custodial tasks that involved heavy hitting
and repeated stair climbing

23. While at the Barry School, Ms. Alba was required to carry heavy boxes of test
materials from the basement up four flights of stairs to her office, where she then had to sort the
tests for delivery to the appropriate classrooms.

24. At the Barry School, Ms. Alba was assigned daily breakfast crate duty.

25. Ms. Alba was as required to pack and deliver breakfast crates to twenty- seven (27)

' Barry School classrooms every day.

26. As part of her breakfast crate assignment, Ms. Alba was also required to ensure the
cleanliness of the school hallways.
_.. 27. Ms. Alba was not only daily assigned to deliver the breakfast crates, but she was also
required-to collect the leftover milk from outside the classrooms.

28. Ms. Alba was required to lift and carry thirty-seven (37) science kits, some weighing
in excess of thirty pounds (30 Ibs.) from the basement of the Barry School to the various Barry
School classrooms. Jt was Ms. Alba’s job to then stack the science kits neatly outside each
classroom.

29, Tn December, 2005, after she . had complained to the School District about the
conditions at the Barry School and the conduct of the Barry School principal, the Principal
directed Ms. Alba to package ninety-six sandwiches for student lunches,

30. Other assistant principals, including the other assistant principal at the Barry School,
were not required to package student lunches,

31. At the Barry School, Ms. Alba was denied access to computer passwords that were
routinely available to other assistant principals.

32. Despite her substantial academic and teaching credentials, Ms. Alba was assigned no
teaching, curricular, or mentoring tasks while at the Barry School. Rather, she was assigned
custodial, hallway maintenance, breakfast duties, and lunch preparation tasks, The tasks
assigned to Ms. Alba are those of a non-teaching assistant or school custodian, not those ofa
professional educator.

33. The other assistant principal at the Barry School was not required to perform the
onerous physical, custodial, and maintenance tasks that were required of Ms. Alba.

34. The other assistant principal is not disabled.

33. Only Ms. Alba was assigned to lift heavy boxes, deliver breakfast crates, make

 
- Tunches, and clean the hallways.

36. The School District did not make a good faith attempt to engage in the interactive
process. The School District knew the reasonable accommodations that Ms. Alba required and
that these accommodations included her assignment to an accessible elevated-equipped building. -
Although such buildings exist in the School District of Philadelphia, Defendant School District oS
advised Plaintiff that there were no building vacancies available that would satisfy the
requirements of her non-job related disability.

- Wherefore, the disability discrimination perpetrated against the Plaintiff must be ©
corrected, and Defendants provide to Plaintiff all appropriate remedies under federal and state
causes of action, including compensatory damages, equitable damages, damages for pain and
suffering, compensation for economic loss, attorneys fees and costs, out of pocket expenses, and
such other relief and amounts owed as appropriate.

_ COUNT II
DISABILITY DISCRIMINATION—LOSS OF IN COME

37. Paragraphs through 36 are incorporated herein by reference.

38. The escalating physical tasks required of her by her supervisor exacerbated Ms.
Alba’s disability causing further damage to her affected joints.

39. Because of the severity of the physical tasks incteasingly imposed on her in |
‘retaliation for her complaints and requests for reasonable accommodation, and because of the ©
School District’s discriminatory refusal to assign her to an accommodating school, Ms. Alba’s
medical condition deteriorated such that the medications that had previously helped her no:

longer did.

40. When her complaints to the Schoo] District went unheeded, and when the Schoo!
District failed to assign Ms. Alba to an accommodating elevator-equipped school, Ms. Alba was
required to take measures to restore her health. .

4]. As a result of the increased pain and joint deterioration that was caused by the
physical tasks that were daily required of her at the Barry School, Ms. Alba’s physicians placed
her on anew experimental therapy.

42. The new drugs used in this experimental therapy could only be administered
intravenously and carried potentially dangerous side effects,

43. The experimental nature of this new treatment required intense monitoring for side
effects.

44, The exacerbation of her joint damage, and her need to undergo new experimental
drugs and therapies, was caused by and is the result of the increasingly discriminatory and
retaliatory measures undertaken by School District supervisors.

45, Even as Ms. Alba’s condition deteriorated, the School District refused to transfer her
to an clevator-equipped accommodating school.

46. As School District supervisory personnel increasingly discriminated and retaliated
against Ms. Alba, other assistant principals, and even non-teaching assistants, were not asked to
_ ofr required to assume any of the custodial, lifting or breakfast crate tasks that were daily required
of Ms. Alba at the Barry School.

47, In December, 2005, the Barry School Principal directed Ms. Alba to package ninety-
SIX sandwiches,

48, _ The School District and the Barry School | Principal Ms. Beasley, knew that Ms.

Alba suffered an obvious hand deformity that made it difficult and even painful for her to
perform tasks, such ‘as packaging sandwiches, that required: manual dexterity and finger
flexibility.
49, Although Ms. Alba was reluctant to do so, and although she could ill afford the

substantial diminishment of income that resulted, the deteriorating condition of her. limbs in the

face of the School District’s retaliatory conduct and refusal to accommodate her reasonable

workplace requirements, required that she undertake a restoration of health leave of absence.
30. In February, 2006, Ms. Alba began a five month restoration of health leave from the ©
School District.

51. Although it was the discriminatory and retaliatory conduct of the School District that

made it necessary for her to take this health leave, the terms of the leave mandated that she —

accept a 50% reduction in pay,

52. From February, 2006, until the end of the school year, Ms. Alba received only one-

half pay with reduced benefits.

33. The discriminatory and retaliatory conduct of the School District of Philadelphia
caused Ms. Alba to suffer this financial loss.

54. As a result of this forced reduction in her pay, the School District has benefited -
financially by discriminating against Ms. Alba, who is an older disabled professional.

55. By refusing to afford her reasonable workplace accommodations, by retaliating
against her, by refusing to remedy the retaliation of its supervisors, and by finally forcing Ms.
Alba to take a leave of absence, the School District extracted a substantial financial penalty
from Ms. Alba while rewarding the discriminatory and retaliatory conduct of School District

personnel.
Wherefore, this disability discrimination must now be corrected with the restoration of
lost wages, and Defendants must be required to provide to Plaintiff all appropriate remedies
under federal and state causes of action, including compensatory damages, equitable damages,
damages for pain and suffering, compensation for economic loss, back. pay and front pay,

attorneys fees and costs, out of pocket expenses, and such other relief as appropriate.

COUNT ii
AGE DISCRIMINATION |
29 U.S.C. §621 et seq., 43 P.S. 955

56. Paragraphs 1 through 55 are incorporated herein by reference,

57. Ms. Alba was fifty-three years (53 yrs.) of age and within two years of retirement
eligibility when she was assigned to the Barry School.:

58. Ms. Alba was one of two assistant principals assigned to the Barry School. Both
assistant principals reported to. the Barry School Principal, Darlene Beasley.

59. While assigned to the Barry School, Ms. Alba was directed by Ms. Beasley to
perform onerous physical tasks including tasks that required heavy lifting of boxes, test materials
and breakfast crates.

60. These physical tasks of heavy lifting were not required of younger School District
professional personnel, and were not even required of the other, younger, assistant principal at
the Barry School.

61. In assigning these tasks to Ms. Alba, the School District and Principal Beasley
discriminated against Ms. Alba on the basis of age.

62. The School District denied Ms. Alba the reasonable workplace accommodations it

knew she needed, required her to perform onerous physical tasks not required of other, younger,

 
assistant principals, and then compelled her to take a leave of absence at a fifty percent (50%)
pay cut for discriminatory reasons based on age. ©

63.. The School District realized an economic reward for its discriminatory policies while
Ms. ‘Alba was compelled to live under reduced financial circumstances,

64. Younger assistant principals and teachers were not required to take similar payroll .
reductions or leaves of absence nor were they required to perform the difficult physical tasks
required of Ms. Alba.

65. The School District undertook this discriminatory and retaliatory ¢ course of conduct
when Ms. Alba was within two years of full retirement. In undertaking its course and policy of
discrimination against an older employee with a non-job related disability, the School District
attempted to force Ms. Alba into early retirement SO that it could realize a further economic
~ benefit by reducing her anticipated retirement benefits.

66. The School District continued in this discriminatory course of conduct by assigning.
Ms. Alba to perform demeaning physical tasks and clerical duties that were not required of

younger educators and professional employees.

67. The School District has thus failed in its obligation to employ and promote older
“persons based on ability rather than age, and to prohibit arbitrary age- discrimination in the

assigninent and employment of its professional personnel.

Wherefore the age-related discrimination perpetrated against Ms. Alba must be corrected,
and Defendants be required to provide to Plaintiff all appropriate remedies under federal and
state causes of action, including compensatory damages, equitable damages, front and back pay,
damages for pain and suffering, compensation for economic loss, attorneys foes and costs, out of

pocket expenses, and such other relief as appropriate.

 

 
COUNT IV.
RETALIATION -
43 P.S. § 955(d) .

68. Paragraphs 1 through 67 are incorporated as if fully set forth herein.

69. Following her complaint about conditions at the Barry School and the School
District’s failure to accord her reasonable workplace accommodations, Ms. Alba’s supervising .
principal, Darlene Beasley, engaged im an increasirigly retaliatory course of conduct against her.

70. The School District was specifically informed of this ongoing retaliatory conduct,
but took no steps to stop it.

71. Immediately following Ms. Alba’s complaint about the disability discrimination
perpetrated against her at the Barry School, the Barry School Principal directed Ms. Alba to lift
heavy science kits, deliver them throughout the Barry school, and deliver additional science kit
boxes toa school annex located a number of blocks away.-

72. Following Ms. Alba’s second complaint to the Schoo! District, Principal Beasley
demanded that Ms. Alba package ninety-six student lunches for a school trip.

73. From the time of her first formal complaint to School District counsel, School
' District supervisory personnel have engaged in an increasingly retaliatory course of conduct and
an escalatory pattern of discrimination against Ms. Alba.

74. Indeed, Barry School security personnel even refused to take Ms. Alba’s report when
her hand was injured after her assigned school recess duties at the Barry School.

75. The School District has retaliated against Ms. Alba with demeaning assignments, by
. humiliating -her, and by denying her appropriate professional opportunities as an assistant

principal.

 
76. On September 1, 2006, three months after Ms. Alba had filed her formal complaint

~ with the PHRC, the School District acknowledged that Ms. Alba had been “S04 approved” for

accommodation. School District further directed that Ms. Alba was to report to the school

. administration building as the School District was in. the ‘process of identifying an
a accommodating school.

77. On Tuesday, September 5, 2006, Ms. Alba reported to the school administration
building as she had been instructed to do.

78. On Wednesday, September 6, 2006 Ms. Alba was informed that effective September
14, 2006, she was to report to the Office of Educational Management (“EMO”).

79. At the EMO, Ms. Alba was assigned wholly clerical and telephone-answering duties.

80. At the EMO, Ms. Alba, a professional educator with two advanced degrees, was
supervised by a secretary.

81. When not answering telephones and transferring calls at the EMO, Ms. Alba was
assigned to compile lists. of truant students by: cutting and pasting small sips of paper er for
retyping. This demeaning assignment was inconsistent with the reasonable accommodations
required by Ms. Alba, who suffers obvious finger deformities that make grasping and cutting
difficult and painful.

82. When not answering the telephone, delivering fax messages, and cutting small pieces
of paper, Ms. Alba was required to sit.at her desk with nothing to do.

83. At the EMO, Ms. Alba was prevented from attending professional meetings or
otherwise participating in the School District as a professional.

84. While at EMO, Ms. Alba was denied the same parking privileges that were available

to other EMO staff, who were not disabled. Because Ms. Alba was prevented from parking in
the nearby School District lot, she was required to walk iong distances to the EMO office. Non-
disabled EMO staff were not. required to walk these long distances,
85. While at EMO, Ms. Alba was denied a 1 key to the office. As a result Ms. Alba was
sometimes required to wait outside, even in the rain, until another employee arrived with a key.
86. In pursuing and continuing this retaliatory course of conduct, the Defendant School
District has abrogated its legal responsibilities and punished Ms. Alba for asserting her rights and
for taking advantage of the legal processes available to her.
Wherefore for the reasons enumerated in the Counts of her Complaint, the retaliation, age
and disability discrimination perpetrated against Ms. Alba by the Defendant School District,
must be corrected, and Defendants must be required to provide and pay to Plaintiff all
appropriate damages, including compensatory damages, equitable damages, front and back pay,
damages for pain and suffering, compensation for economic loss, for attorneys fees and costs,

out of pocket expenses, and such other relief as appropriate.

     

C. Lebowitz
Attorney I.D. 22243

Charles J. Grant
Attorney I.D. 35008

Grant & Lebowitz, LLC
1818 Market Street
Philadelphia, PA, 19103
Telephone: 215-789-3100
Attorneys for Plaintiff

 
EXHIBIT A

 
US. Department of Justice

Civil Rights Division
NOTICE OF RIGHT. TO SUE
WITHIN .9O DAYS .

 

CERTI PIED MATL | oo 8S Penasylvanta Avenie, ME.
‘SO6BR 1746- : . Kuren Ferguson, EMP, PHE, Room 4239
: Washington, OC 20530

. Ms. Carmen Alba February 26, 2007
c/o Ann C. Lebowitz, Esquire.
Law Offices of Grant & Lebowitz
Artorneys at Law. |
-i818 Market St., 33rd Floor
Philadeiphia, PA 19103

Re: EEOC Charge Against School District of Philadelphia, et al.
No. 17F200662288

Dear Ms. Alba:

‘Because you filed the: above charge with the Equal Employment
Opportunity Commission, and more than 180 days have: elapsed since
the date the Commission. assumed jurisdiction over the charge, and-no
suit based thereon has been filed by this Department, and because
you through your attorney have specifically requested this Notice,.
you are hereby notified that you have the richt to institute a civil
action under Tizle = of the» Americans with Disabilities Act: of 1990,
42 U.S.C. 12111, et saq. against the above-named respondent.

Ti you chooses to commence a civil action, such stit must be
filed in the appropriate Court within 90 gays of your receipt of
this Notice. °

This. Notice should not be taken to mear that the Department of
Justice has made a judgment. as to whether or not your caése ‘is
meritoriocs. .

Sincerely,

Wan J. Kim
Assistant Attorney General
Ciyil Rights Division

» (bret tenner
~ Karen L. Ferguson

Supervisory Civil Rights Analyst
Employment Litigation Section

ec: Philadelphia Districz Office, EEOC
Schcool District of Philadelphia, et al.
_ EXHIBIT B
U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Philadelphia District Office 21 South 5th Street - Suite 400
oo Philadelphia, PA 19106-2515
215-440-2600

FAX 215-440-2604
TTY 215-440-2610

 

Our Reference: Charge Number i7F-2006-62288 (formerly L7FA662288)
. "Alba v. School District of Philadelphia

Ms.. Carmen Alba
450 Bast Pleasant Avenue
Philadelphia, PA 19119.

Dear Ms. Alba:

The ' above-referenced - charge has been filed with the Equal -
Employment. Opportunity Commission ("EEOC") under the Americans with
‘Disabilities Act of 1990, as amended ("ADA"), and the Age
Discrimination in Employment Act of 1967, as amended ("ADEA") ,

As explained in the enclosed letter, the EEOC has forwarded to the
U. S. Department of Justice your request for a Notice of Right-to-
Sue with respect to its processing of the ADA portion of the

charge. ‘Consistent with its normal practice in such cases, the
EEOC will*’also discontinue its processing of the ADEA portion of
the charge. LG

The rights of a Charging Party to file a private civil action under
the -ADA will be explained in the Notice of Right-to-Sue. You are

“reminded, however, that if you wish to file suit under the ADEA,
you may do so without any Notice from the FROC.

If the charge was filed within 180 days of the alleged
discrimination (within 300 days in states such as Delaware, New
Jersey and. Pennsylvania which have &@ state discrimination law), you
may sue urider the ADEA for recovery of backpay, an @qual amount as
liquidated damages, appropriate make-whole or injunctive relief,
and attorrieys' fees and costs.

The ‘fact that the EEOC will take no further action does: not affect
your :rights to take legal action on your own behalf under the ADEA.
If you filed your ‘Charge within the time limits specified above,
you may file a lawsuit within 90 days of the date you receive. this
letter. Once 90 days have passed from your receipt of this letter,
your right to sue is lost. .

 
you. have any questions, please contact Stanford Lamb ,

 

Tf
investigator, at 215-440-2617.
Sincerely,

St Pan naery $f, 247 Wt 1 ddan D. 2G
Date ° Enforcement Manager
Enclosure
cc: School District of Philadelphia

Ann C. Lebowitz, Esquire (for: Charging Party)
Miles H, Shore, ‘Acting General Counsel (for Respondent)
